  CLERK’S NOTICE RE Adversary Status Conference/Law & Motion Calendar via Zoom
HEARING TO BE CONDUCTED VIA VIDEO CONFERENCE on January 20, 2021 at 11:00
       A.M., will be conducted by Judge Charles Novack through Zoom Webinar.

                    Please click the link below to join the webinar:
https://www.zoomgov.com/j/1606735470?pwd=UWM1UVZuUzd5YjhHbDRUR2lFeGtoQT09
                                   Passcode: 107697

              Phone is listen only. You will not be able to appear on a matter.
            Dial (for higher quality, dial a number based on your current location):
       US: +1 669 254 5252 or +1 669 216 1590 or +1 551 285 1373 or +1 646 828 7666
                                  Webinar ID: 160 673 5470
                                        Passcode: 107697
         International numbers available: https://www.zoomgov.com/u/abbNHHzXZ

               PLEASE READ FOR INSTRUCTIONS PRIOR TO HEARING

 All Parties (Debtors, Attorneys, Creditors) intending to appear, and be heard on matters on the
               calendar should NOT register with CourtCall as they had in the past.
           All Parties (Debtors, Attorneys, Creditors) must wear business casual attire.
      Attendee name MUST be entered as: Your Full Name, Case Number(s) and Line Item
                          number(s). [e.g. Jane Doe, 20-XXXXX, #1]
  If your name is entered incorrectly, please exit the webinar to modify your name then rejoin.
     For Security Purposes, you WILL NOT be permitted to appear if your Full name, Case
                 Number(s) and Line Item Number(s) are not properly displayed.

                   IMPORTANT NOTICE TO THE MEDIA AND PUBLIC

Persons granted remote access to hearings and other proceedings held before the Court via Zoom
or any other communication service are reminded that recording, photographing, rebroadcasting
 or retransmission of such proceedings (including streaming, screen-shots or any other audio or
 video reproduction) is absolutely prohibited by policy of the Judicial Conference of the United
                                               States.
 A violation of these prohibitions is subject to sanctions, including but not limited to removal of
    court-issued media credentials, restricted access to future hearings, or any other sanctions
                                 deemed necessary by the Court. *
      Please see https://www.canb.uscourts.gov/zoom/ for information on preparing for and
   participating in a Zoom Webinar. Counsel are instructed to familiarize themselves with and
practice Zoom Webinar functions, and to test their internet, video, and audio capabilities prior to
                                            the hearing.
                              _______________________________
 * General Order 38 (Second Amended): Matters Pending In The Northern District of California
     In Re: Covid-19 Public Health Emergency, at paragraph 4; United States District Court,
                 Northern District of California General Order 58, at paragraph III




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